                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

JANE DOE                                        §
     Plaintiff                                  §
                                                §
VS.                                             § CIVIL ACTION NO. 7:19-CV-00309
                                                § (JURY REQUESTED)
                                                §
EDINBURG CONSOLIDATED                           §
INDEPENDENT SCHOOL DISTRICT                     §
     Defendant                                  §

DEFENDANT EDINBURG CONSOLIDATED INDEPENDENT SCHOOL DISTRICT’S
   RESPONSE TO PLAINTIFF’S REPLY TO DEFENDANT EDINBURG CISD’S
                 RESPONSE TO MOTION TO COMPEL



TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, EDINBURG CONSOLIDATED INDEPENDENT SCHOOL

DISTRICT, Defendant in the above-styled and numbered cause, and files this its Response to

Plaintiff’s Reply to Defendant’s Response to Motion to Compel and would respectfully show the

Court the following:

                                               I.

                         DECLARATION OF ERIKA MARTINEZ

1.     On December 17, 2019, Plaintiff provided an interrogatory response to Defendant stating

that Erika Martinez reported misconduct about Badillo in “February of 2017” and filled out an

affidavit to memorialize the report (Please See Exhibit G attached hereto). In her reply to

Defendant’s Response to Plaintiff’s Motion to Compel, Plaintiff suggests that Defendant has been

deceptive with respect to the request for production seeking “the affidavit provided to Ms.

Culbertson and/or an officer regarding Badillo’s inappropriate conduct towards another female



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student in 2017” (Request For Production 28 to Defendant to which Defendant originally answered

“none” on January 17, 2020 with no objection). Subsequent to this on January 24, 2020, Erika

Martinez executed an affidavit that was produced to Defendant by Plaintiff which stated that she

had reported Badillo to a school official sometime in February of 2017 (See Exhibit H). Upon

receipt of the January 24, 2020 affidavit Defendant conducted a subsequent search and

Defendant’s police department found a statement from Martinez dated April 24, 2017. While

Plaintiff only asked for the affidavit of Martinez produced to then principal Culbertson, Defendant

voluntarily produced the complete investigative file regarding Martinez’ complaint including the

affidavit of Martinez which was produced to the Edinburg CISD Police Department.

                                                      II.

                                 MIGUEL CONDES INVESTIGATION

2.     With respect to Plaintiff’s assertion that the investigation regarding Miguel Condes, former

employee is relevant to this action, Defendant would submit that the investigation took place in

2013, involved a 7th grade middle school student, and involved the employee picking up the student

at her home at night on a weekend. Jane Doe is a high school student alleging conduct that

occurred with a different employee in 2017 while at the high school. As these matters are

completely distinguishable from one another Defendant contends the evidence would be irrelevant

and not reasonably calculated to lead to the discovery of admissible evidence. The Condes

investigation is not a prior complaint of former employee Badillo.

3.     Defendant would further assert that the requested information involves an investigation of

abuse of a completely different minor student. This type of information is undeniably extremely

sensitive, personal and private. While not directly related to our litigation, Defendant would argue

that public policy would be in favor of non-disclosure as evidenced by the example of Section

261.201 of the Texas Family Code which states that information regarding the report of alleged or

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suspected abuse or neglect is confidential and not subject to public release under Chapter 552 of

the Government Code or disclosure without court order.

                                                   III.

                   DEFENDANT PRODUCED EVIDENCE OF ITS STEPS TO
                        PREVENT SEXUAL ABUSE OF STUDENTS

4.     As to the allegation of Defendant doing anything to address or prevent situations of sexual

assaults involving students, Defendant would respectfully refer the Court to the excerpts from the

training video which was produced to Plaintiff and used by the District to train all of its employees

each year. (Please See Exhibit I).         The video specifically addresses the prohibition of

employee/student relationships, sexual harassment of students, and issues regarding solicitation of

romantic relationships with students. It also has videotaped scenarios of examples of prohibited

conduct between employees and students. To imply that Defendant has not been compliant in

producing information responsive to Plaintiff’s requests is simply incorrect.

                                                IV.
                                              PRAYER

5.     WHEREFORE, PREMISES CONSIDERED, Defendant EDINBURG CONSOLIDATED

INDEPENDENT SCHOOL DISTRICT respectfully prays that the Court sustain Defendant’s

objections at issue and deny Plaintiff’s Motion to Compel. Defendant additionally seeks such

other and further relief to which it may be entitled to, either at law or in equity.


Signed on June 18, 2020.




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                                             Respectfully submitted,

                                             ESPARZA & GARZA, L.L.P.
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                                             By: /s/ Eduardo G Garza
                                                     Eduardo G Garza
                                                     State Bar No. 00796609
                                                     USDC ADM. No. 20916
                                                     Roman ADino@ Esparza
                                                     State Bar No. 00795337
                                                     USDC ADM. No. 22703
                                             ATTORNEYS FOR DEFENDANT

                                CERTIFICATE OF SERVICE

        I hereby certify that on June 18, 2020, pursuant to the Federal Rules of Civil Procedure, a
true and correct copy of the above and foregoing document was served on each party to this action
by Defendant’s submission of this document to the U.S. District Court electronically to the DCECF
system:

                                             /s/ Eduardo G Garza
                                                 Eduardo G Garza




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